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                                                                                          2025 Feb-20 PM 01:33
                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION


    IN RE: BLUE CROSS BLUE SHIELD                     Master File No. 2:13-CV-20000-RDP
    ANTITRUST LITIGATION
                                                      This Document Relates to
    MDL NO. 2406                                      Provider Track Cases



   JOINT NOTICE OF WITHDRAWAL OF PROVIDER PLAINTIFFS’ MOTION TO
         DISQUALIFY CYRIL SMITH AND FOR CORRECTIVE NOTICE

       Provider Plaintiffs, Cyril Smith, and Zuckerman Spaeder, LLP (together, the “Parties”)

have reached an agreement to withdraw the Provider Plaintiffs’ Motion to Disqualify Cyril Smith

and For Corrective Notice [Doc. 3232] (“Motion”). In reliance on that agreement and the

representations therein, the Parties hereby provide notice of the withdrawal of the Motion with

prejudice.

Dated: February 20, 2025                   Respectfully submitted,



                                           /s/ Joe L. Leak__________________
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       I hereby certify that, on February 20, 2025, I caused the foregoing to be served on counsel

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